Case 20-50966-CTG Doc3-1 Filed 10/29/20 Page 1of1

CERTIFICATE OF SERVICE

I, Christopher D. Loizides, certify that I am, and at all times during the service of process was,
(name)
not less than 18 years of age and not a party to the matter concerning which service of process was made. I further
certify that the service of this summons and a copy of the complaint was made October 29. 2020 by:
(date)

 

 

X | Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

 

 

 

NS8 INC.

Attention: Manager/Officer
P.O. Box 34120

Las Vegas, NV 89133

 

 

 

 

 

Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:

 

 

Residence Service: By leaving the process with the following adult at:

 

 

Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
addressed to the following officer of the defendant at:

 

 

Publication: The defendant was served as follows: [Describe briefly]

 

 

State Law: The defendant was served pursuant to the laws of the State of
as follows: [Describe briefly] (name of state)

 

 

 

 

Under penalty of perjury, I declare that the foregoing is true and correct.

 

Date: October 29, 2020 /s/ Christopher D. Loizides (No. 3968)
Signature
Print Name: Christopher D. Loizides

Business Address: Loizides, PA,
1225 King St., Ste. 800
City: Wilmington
State: DE
Zip: 19801

 

 

 
